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U.S. Department of Justice

United States Attorney
District of New Jersey

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Assistant United States Attorney Trenton, New Jersey 08608
IDB/PL AGR

“= RECEWED

November 12, 2024

John M. Holliday, Esq. i M
2273 State Highway 33 "pT 8:30 oan
Suite 207 CLERK, US. DISTRICT COURT -D
Trenton, New Jersey 08690

Criminal Number: 24-815-01 (MAS)

Re: Plea Agreement with Keith Opalenik

Dear Mr. Holliday:

This letter sets forth the plea agreement between your client, Keith Opalenik
(“Opalenik”), and the United States Attorney for the District of New Jersey (“this
Office”). This offer will expire on December 6, 2024, if it is not accepted in writing by
that date. If Opalenik does not accept this plea agreement, his sentencing exposure
could increase beyond what is discussed in this plea agreement as a result of this
Office’s investigation.

Charges

Conditioned on the understandings specified below, this Office will accept a
guilty plea from Opalenik to a one-count Information, which charges Opalenik with
conspiracy to traffic in firearms, in violation of 18 U.S.C. § 9383(a)(8). If Opalenik
enters a guilty plea and is sentenced on this charge and otherwise fully complies
with this agreement, this Office will not initiate any further criminal charges
against Opalenik for his firearms-trafficking activities and his unlawful possession
of a firearm with an obliterated serial number on or about April 15, 2024, as
charged in the Criminal Complaint docketed under Magistrate Number 24-3025
(TJB).

But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does not
remain in full force and effect, this Office may reinstate any dismissed charges and
initiate any other charges against Opalenik even if the applicable statute of
limitations period for those charges expires after Opalenik signs this agreement,
and Opalenik agrees not to assert that any such charges are time-barred.
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Sentencing

The violation of 18 U.S.C. § 983(a)(3) to which Opalenik agrees to plead guilty
carries a statutory maximum sentence of 15 years’ imprisonment, and a statutory
maximum fine equal to the greatest of: (1) $250,000; (2) twice the gross amount of
any pecuniary gain that any persons derived from the offense; or (3) twice the gross
amount of any pecuniary loss sustained by any victims of the offense. Fines imposed
by the sentencing judge may be subject to the payment of interest.

The sentence to be imposed upon Opalenik is within the sole discretion of the
sentencing judge, subject to the provisions of the Sentencing Reform Act, 18 U.S.C.
§§ 8551-8742, and the sentencing judge’s consideration of the United States
Sentencing Guidelines. Those Guidelines are advisory, not mandatory. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. This
Office cannot and does not make any representation or promise as to what
Guidelines range may be found by the sentencing judge, or as to what sentence
Opalenik ultimately will receive.

Further, in addition to imposing any other penalty on Opalenik, the
sentencing judge as part of the sentence:

(1) will order Opalenik to pay an assessment of $100 pursuant to 18
U.S.C. § 3018, which assessment must be paid by the date of
sentencing;

(2) may order Opalenik to pay restitution pursuant to 18 US.C. § 3668 e¢
seq.;

(3) must order forfeiture pursuant to 18 U.S.C. § 924(d)(1); and

(4) pursuant to 18 U.S.C. § 3583, may require Opalenik to serve a term of
supervised release of not more than three years, which will begin at
the expiration of any term of imprisonment imposed. Should Opalenik
be placed on a term of supervised release and subsequently violate any
of the conditions of supervised release before the expiration of its term,
Opalenik may be sentenced to not more than two years’ imprisonment
in addition to any prison term previously imposed, regardless of the
statutory maximum term of imprisonment set forth above and without
credit for time previously served on post-release supervision, and may
be sentenced to an additional term of supervised release.
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Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on Opalenik by the
sentencing judge. This Office may also correct any misstatements relating to the
sentencing proceedings and provide the sentencing judge and the United States
Probation Office all law and information relevant to sentencing, favorable or
otherwise. And this Office may inform the sentencing judge and the United States
Probation Office of: (1) this agreement; and (2) the full nature and extent of
Opalenik’s activities and relevant conduct with respect to this case.

Stipulations

This Office and Opalenik will stipulate at sentencing to the statements set
forth in the attached Schedule A, which is part of this plea agreement. Both parties
understand that the sentencing judge and the United States Probation Office are
not bound by those stipulations and may make independent factual findings and
may reject any or all of the parties’ stipulations. Nor do these stipulations restrict
the parties’ rights to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it believes materially conflicts with a Schedule A stipulation, that
stipulation shall no longer bind this Office. A determination that a Schedule A
stipulation is not binding shall not release the parties from any other portion of this
agreement, including any other Schedule A stipulation.

If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate toa
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A and the paragraph below, this Office and Opalenik
waive certain rights to appeal, collaterally attack, or otherwise challenge the
judgment of conviction or sentence.

Forfeiture

As part of Opalenik’s acceptance of responsibility, and pursuant to 18 U.S.C.
§ 924(d)(1), 18 U.S.C. § 934(a) and 28 U.S.C. § 2461(c), Opalenik agrees to forfeit to

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the United States all right, title, and interest, if any, in the following items seized
on or about April 15, 2024: a Ruger, Model 10/22, .22 caliber semi-automatic rifle
with an obliterated serial number restored to read as 0011-57714 (the “Specific
Property”).

Opalenik acknowledges that the Specific Property is subject to forfeiture as
firearms or ammunition involved in or used in the violation of 18 U.S.C. § 933(a)(3)
charged in the Information.

Opalenik waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Pursuant to Fed. R. Crim. P. 32.2(b)(4), Opalenik
consents to the entry of a forfeiture order that, in the Office’s discretion, may be
final as to the defendant prior to the defendant’s sentencing. Opalenik understands
that criminal forfeiture pursuant to 18 U.S.C. § 924(d)(1), 18 U.S.C. § 934(a), and 28
U.S.C. § 2461(c) is part of the sentence that may be imposed in this case and waives
any failure by the court to advise Opalenik of this pursuant to Fed. R. Crim. P.
11(b)(L)@) at the guilty plea proceeding. Opalenik further understands that
Opalenik has no right to demand that any forfeiture of Opalenik’s assets be treated
as satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose in addition to forfeiture. Opalenik waives all constitutional,
statutory, and other challenges to the forfeiture on all grounds, including that the
forfeiture constitutes an excessive fine or punishment under the Eighth
Amendment.

Opalenik also consents to the administrative and/or civil judicial forfeiture of
the Specific Property pursuant to 18 U.S.C. § 984, Opalenik agrees that Opalenik
will not file a claim or a petition for remission or mitigation in any forfeiture
proceeding involving the Specific Property and will not cause or assist anyone else
in doing so. To the extent Opalenik has filed a claim or petition in any
administrative or civil judicial forfeiture proceeding involving the Specific Property,
such claims or petitions are deemed withdrawn. Opalenik further agrees to take all
necessary steps to pass clear title to the Specific Property to the United States,
including, but not limited to, the surrender of such property to the United States, its
agent, or designee, and the execution of all necessary documentation.

Opalenik further consents and agrees to forfeit and abandon to federal, state,
and/or local law enforcement all of Opalenik’s right, title, and interest in the
Specific Property; waives all challenges of any kind to the forfeiture and
abandonment of this property by federal, state, and/or local law enforcement;
walves any additional notice requirement in connection with the forfeiture and/or
abandonment of this property; and consents to the destruction of the forfeited
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and/or abandoned property at the discretion of federal, state, and/or local law
enforcement.

Opalenik further waives, abandons, and surrenders to federal, state, and/or
local law enforcement all of his right, title, and interest in the following firearms
and ammunition which were seized on or about July 29, 2024: (i) one Rock Island
Armory, Model VR80, 12-gauge semi-automatic shotgun bearing serial number
R3839775; Gi) one Fabrique Nationale Herstal, Model FN15, multi-caliber semi-
automatic rifle bearing serial number FNB031141; Gii) one Remington double
barrel 12-gauge shotgun bearing serial number 78865; (iv) one Heckler & Koch,
Model VP9, 9-millimeter semi-automatic pistol bearing serial number 224-185958;
(v) one Kimber, Ultra Covert II, .45 caliber semi-automatic pistol bearing serial
number KU88825; (vi) three ammunition magazines; (vii) approximately 100 rounds
of .22 caliber long rifle ammunition; (vili) approximately 175 rounds of 9-millimeter
ammunition; (x) approximately 20 rounds of .45 caliber ammunition; (x)
approximately 86 rounds of 5.56-millimeter ammunition; and (xi) approximately 5
rounds of 12-gauge shotgun ammunition (the “Additional Property’). Opalenik
further waives any additional notice requirement in connection with the forfeiture
and/or abandonment of the Additional Property and consents to its destruction at
the discretion of federal, state, and/or local law enforcement.

Immigration Consequences

Opalenik understands that, if he is not a citizen of the United States,
Opalenik’s guilty plea to the charged offenses will likely result in his being subject
to immigration proceedings and removed from the United States by making
Opalenik deportable, excludable, or inadmissible, or ending Opalenik’s
naturalization. Opalenik understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the immigration authorities.
Opalenik wants and agrees to plead guilty to the charged offenses regardless of any
immigration consequences of this plea, even if this plea will cause Opalenik’s
removal from the United States. Opalenik understands that he is bound by this
guilty plea regardless of any immigration consequences. Accordingly, Opalenik
waives any right to challenge the guilty plea, sentence, or both based on any
immigration consequences. Opalenik also agrees not to seek to withdraw this guilty
plea, or to file a direct appeal, or any kind of collateral attack challenging the guilty
plea, conviction, or sentence, based on any immigration consequences of the guilty
plea or sentence.

Other Provisions

This agreement is hmited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities. If
requested to do so, however, this Office will bring this agreement to the attention of
other prosecuting offices.

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This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Opalenik. So this
agreement does not prohibit the United States, any agency thereof (including the
Internal Revenue Service and Immigration and Customs Enforcement) or any third
party from initiating or prosecuting any civil or administrative proceeding against
him.

No provision of this agreement shall preclude Opalenik from pursuing in an
appropriate forum, when permitted by law, a claim that he received constitutionally
ineffective assistance of counsel.

No Other Promises

This agreement constitutes the entire plea agreement between Opalenik and
this Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties.

Very truly yours,

PHILIP R. SELLINGER -
United States Attorney

Man BD. Bratir

By: Jan D. Brater
Assistant U.S. Attorney

APPROVED:

Eric A, Bodew

Eric A. Boden
Assistant U.S. Attorney
Attorney-In-Charge, Trenton Branch Office
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I have received this letter from my attorney, John M. Holliday, Esq. I have
read it. My attorney and I have reviewed and discussed it and all of its provisions,
including those addressing the charges, sentencing, stipulations (including the
attached Schedule A), forfeiture consequences, waiver consequences, and
immigration consequences. I understand this letter fully and am satisfied with my
counsel’s explanations. I accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand that no additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties. I want to plead guilty pursuant to this
plea agreement.

AGREED AND ACCEPTED:

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Keith Opaldnik

T have reviewed and discussed with my client this plea agreement and all of
its provisions, including those addressing the charges, sentencing, stipulations
(including the attached Schedule A), forfeiture consequences, walver consequences,
and immigration consequences. My client understands this plea agreement fully
and wants to plead guilty pursuant to it.

Date: n)/26)24

John M/ Holliday, Esq.
Counsel for Defendant
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Plea Agreement With Keith Onalenik

Schedule A

1. This Office and Keith Opalenik (“Opalenik”) recognize that the United
States Sentencing Guidelines do not bind the sentencing judge. Each party
nevertheless agrees to these stipulations.

2. The version of the Guidelines effective November 1, 2023 applies in this
case.

3. The parties agree that the applicable guideline is U.S.5.G. § 2K2.1.

4, The parties agree that the Base Offense Level is 14 because Opalenik
will be convicted under 18 U.S.C. § 983. See U.S.8.G. § 2K2.1(a)(6)(B).

5. The parties agree that the firearm possessed and sold by Opalenik had
an, obliterated serial number. The offense level is therefore increased by 4 levels.

See U.S.8.G. § 2K2.1(b)(4)(B)G@).

6. The parties agree that Opalenik will be convicted under 18 U.S.C, §
933(a)(8). The offense level is therefore increased by 2 levels. See U.S.S.G.
§ 2K2.1(b)(6)(A).

7. As of the date of this letter, Opalenik has clearly demonstrated a
recognition and atfirmative acceptance of personal responsibility for the offense
charged. Therefore, a downward adjustment of 2 levels for acceptance of
responsibility is appropriate if Opalenik’s acceptance of responsibility continues
through the date of sentencing. See U.S.S.G. § 3E1.1{a).

8.  Asof the date of this letter, Opalenik has assisted authorities in the
investigation or prosecution of his own misconduct by timely notifying authorities of
his intention to enter a plea of guilty, thereby permitting this Office to avoid
preparing for trial and permitting this Office and the court to allocate their
resources efficiently. At sentencing, this Office will move for a further 1-point
reduction in Opalenik’s offense level pursuant to U.S.5.G. § 83E1.1(b) if the following
conditions are met: (a) Opalenik enters a plea pursuant to this agreement, (b) this
Office, in its discretion, determines that Opalenik’s acceptance of responsibility has
continued through the date of sentencing and Opalenik therefore qualifies for a 2-
point reduction for acceptance of responsibility pursuant to U.S.8.G. § 8E1.1(a), and
(c) Opalenik’s offense level under the Guidelines prior to the operation of § 3E1.1(a)
is 16 or greater.

9. Accordingly, the parties agree that the total Guidelines offense level
applicable to Opalenik is 17 (the “Total Guidelines Offense Level”).
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10. ‘The parties agree not to advocate for any upward or downward
adjustment or departure from the Guidelines range resulting from (a) the agreed
Total Guidelines Offense Level and (b) the criminal history category that the
sentencing judge applies under Chapter 4 of the Guidelines without any departure

or variance. But each party may seek a variance from that Guidelines range, which
the other party may oppose.

11. Ifthe term of imprisonment does not exceed 30 months, and except as
specified in the next paragraph below, Opalenik will not challenge or seek to reduce
by any means any component of the sentence imposed by the sentencing judge for
any reason other than ineffective assistance of counsel. The term “any means”
includes a direct appeal under 18 U.S.C. § 8742 or 28 U.S.C. § 1291, a motion to
vacate the sentence under 28 U.S.C. § 2255, a motion to reduce the term of
imprisonment under 18 U.S.C. § 3582(c)(1)(B) or (c){2), a motion for early
termination of supervised release under 18 U.S.C. § 3583(e)(1), and any other
appeal, motion, petition, or writ, however captioned, that seeks to attack or modify
any component of the sentence. If the term of imprisonment is at least 24 months,
this Office will not challenge by appeal, motion, or writ any component of the
sentence imposed by the sentencing judge. The provisions of this paragraph bind
the parties even if the sentencing judge employs a Guidelines analysis different
from the one above.

12. Both parties reserve the right to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph or any other provision
of this plea agreement, Moreover, the preceding paragraph does not apply to:

(a) Any proceeding to revoke the term of supervised release.

(b) A motion to reduce the term of imprisonment under 18 U.S.C,
§ 3582(c)(1)(A).

(c) An appeal from the denial of a § 3582(c)(1)(A) motion on the
grounds that the court erred in finding no extraordinary and
compelling circumstances warranting a reduced term of
imprisonment or that the court failed to consider those

circumstances as a discretionary matter under the applicable
factors of 18 U.S.C. § 3553(a).
